
JACKSON, J., concurring.
Although I concur with the result reached by the majority opinion, I write separately to clarify my analysis in reaching this conclusion.
The majority is correct that an admission in a juvenile delinquency case is equivalent to a plea of guilty by an adult in a criminal prosecution. In re Johnson, 32 N.C.App. 492, 493, 232 S.E.2d 486, 487-88 (1977). However, "in a juvenile proceeding, as opposed to an adult criminal proceeding, `the burden upon the State to see that the child's rights [are] protected' is increased rather than decreased." In re T.E.F., 167 N.C.App. 1, 4, 604 S.E.2d 348, 350 (2004) (alteration in original), aff'd, 359 N.C. 570, 614 S.E.2d 296 (2005) (quoting In re Meyers, 25 N.C.App. 555, 558, 214 S.E.2d 268, 270 (1975)).
North Carolina General Statutes, section 15A-1022 - governing guilty pleas - and section 7B-2407 - governing juvenile admissions - are almost identical. However, with respect to what may be considered in determining the factual basis of the plea or admission, section 15A-1022 provides that "[t]his determination may be based upon information including but not limited to" (1) the prosecutor's statement of the facts; (2) the defendant's written statement; (3) the presentence report; (4) sworn testimony, including reliable hearsay; and (5) defense counsel's statement of facts. N.C. Gen.Stat. § 15A-1022(c) (2007) (emphasis added). In contrast, section 7B-2407 states that "[t]his determination may be based upon any of the following information:" (1) the prosecutor's statement of the facts; (2) the juvenile's written statement; (3) sworn testimony, including reliable hearsay; and (4) a statement of facts by the juvenile's attorney. N.C. Gen.
*573Stat. § 7B-2407(c) (2007) (emphasis added). Section 15A-1022 is an inclusive list which could permit the use of the indictment to establish the factual basis supporting a guilty plea. In contrast, section 7B-2407 is an exclusive list which does not include the use of the petition to establish the factual basis supporting a juvenile admission.
Just as there was no factual basis for the guilty plea in Weathers, cited by the majority, there was no factual basis for the juvenile's admission in the case sub judice. Therefore, I concur in vacating the admission.
